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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                   Plaintiffs,                                 4:14CR3033
      vs.
                                                                 ORDER
TALEB S. KHALAF,
                   Defendants.


      Defendant has moved to continue the trial setting, (filing no. 20), because the
defendant and defense counsel need additional time to fully review the discovery
received before deciding how to resolve this case. The motion to continue is unopposed.
Based on the showing set forth in the motion, the court finds the motion should be
granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s motion to continue, (filing no. 20), is granted.

      2)     A telephonic status conference with the undersigned magistrate judge will
             be held on the record on May 13, 2015 at 10:45 a.m. to discuss scheduling
             trial. Defense counsel, the defendant, and the government shall participate
             in the call.

      3)     Based upon the representations of counsel, the Court further finds that the
             ends of justice will be served by further delaying the scheduling of trial;
             and those purposes outweigh the interest of the defendant and the public in
             a speedy trial. Accordingly, the additional time arising as a result of the
             granting of the motion, the time between today’s date and May 13, 2015,
             shall be deemed excludable time in any computation of time under the
             requirements of the Speedy Trial Act, because although counsel have been
             diligent, additional time is needed to adequately prepare this case for trial
             and failing to grant additional time might result in a miscarriage of justice.
             18 U.S.C. § 3161(h)(1) & (h)(7).

      March 27, 2015.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
